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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS

                                          )
       United States of America
                      Plaintiff(s)
                                          )
                                          )             1:19-MC-80003
                                          )
              v.                          )             Ticket No. #6347191
                                          )
                                          )
                                          )             Magistrate Judge Susan E. Cox
                                          )
       Thomas Hairston                    )
                    Defendant(s)          )
                                          )

                                         ORDER


The Clerk of Court is directed to assign a miscellaneous case number to Ticket No. #6347191,
issued to Thomas Hairston.




Date: 3/11/2019                           __ ______________________________
                                          U.S. Magistrate Judge, Susan E. Cox
